Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 1 of 34            FILED
                                                                  2019 Mar-08 AM 11:52
                                                                  U.S. DISTRICT COURT
                                                                      N.D. OF ALABAMA




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 2 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 3 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 4 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 5 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 6 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 7 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 8 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 9 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 10 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 11 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 12 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 13 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 14 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 15 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 16 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 17 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 18 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 19 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 20 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 21 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 22 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 23 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 24 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 25 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 26 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 27 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 28 of 34




                            EXHIBIT A
                          DOCUMENT 16
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 29 of 34
                          DOCUMENT 16
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 30 of 34
          Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 31 of 34


                                     AlaFile E-Notice




                                                                         31-CV-2019-900020.00
                                                                   Judge: GEORGE C. DAY, JR.
To: ALLENSTEIN MYRON KAY
    myron@allenstein.com




                           NOTICE OF SERVICE
                  IN THE CIRCUIT COURT OF ETOWAH COUNTY, ALABAMA

               BRIAN K. CROWSON V. ASURION SHORT TERM DISABILITY PLAN
                                31-CV-2019-900020.00

                           The following matter was served on 2/5/2019

                       D001 ASURION SHORT TERM DISABILITY PLAN
                                        Corresponding To
                                        CERTIFIED MAIL




                                                                    CASSANDRA JOHNSON
                                                                    CIRCUIT COURT CLERK
                                                                 ETOWAH COUNTY, ALABAMA
                                                                     801 FORREST AVENUE
                                                                               SUITE 202
                                                                       GADSDEN, AL, 35901

                                                                                 256-549-2150
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 32 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 33 of 34




                            EXHIBIT A
Case 4:19-cv-00408-ACA Document 1-1 Filed 03/07/19 Page 34 of 34




                            EXHIBIT A
